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                                                                                                                      AVAYA INC.
                                                                                                                    8
                                                                                                                      [Additional counsel listed on signature page]
                                                                                                                    9

                                                                                                                   10                                UNITED STATES DISTRICT COURT
              SIDEMAN & BANCROFT LLP
                                       ONE EMBARCADERO CENTER, 22ND FLOOR
                                                                            SAN FRANCISCO, CALIFORNIA 94111-3711




                                                                                                                   11                               NORTHERN DISTRICT OF CALIFORNIA

                                                                                                                   12                                   SAN FRANCISCO DIVISION

                                                                                                                   13
LAW OFFICES




                                                                                                                   14 AVAYA INC., a Delaware corporation,             Case No. 3:19-cv-00565 SI

                                                                                                                   15                  Plaintiff,                     STIPULATION AND [PROPOSED]
                                                                                                                                                                      ORDER RE ENTRY OF LIMITED STAY
                                                                                                                   16
                                                                                                                                  v.                                  OF ACTION
                                                                                                                   17
                                                                                                                        RAYMOND BRADLEY PEARCE, et al.,
                                                                                                                   18
                                                                                                                                       Defendants.
                                                                                                                   19

                                                                                                                   20

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                                                                                                                        4990070                                                               Case No. 3:19-cv-00565 SI
                                                                                                                                        STIPULATION AND [PROPOSED] ORDER RE LIMITED STAY
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                                                                                                                    1             Plaintiff AVAYA INC. (“Avaya” or “Plaintiff”) and Defendants JASON HINES (“Mr.

                                                                                                                    2 Hines”), DEDICATED BUSINESS SYSTEMS INTERNATIONAL LLC (“DBSI”), ATLAS

                                                                                                                    3 SYSTEMS, INC. (“Atlas”), FEATURECOM INC. (“Featurecom”), STEVE GERACI (“Mr.

                                                                                                                    4 Geraci”), and Cross-Complainants Drew Telecom Group, Inc. ( “DTGI”) and METROLINE, INC.

                                                                                                                    5 ((“Metroline”), and together with Avaya and all other defendants1 the “Parties”) hereby jointly

                                                                                                                    6 STIPULATE, AGREE, and respectfully request that the Court ORDER the entry of the

                                                                                                                    7 following requested limited stay of the action as follows.

                                                                                                                    8                                       STIPULATED FINDINGS

                                                                                                                    9             WHEREAS, Avaya has a pending civil action in the United States District Court for the

                                                                                                                   10 Northern District of California against Defendants, which alleges claims principally related to the
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                                                                                                                   11 alleged theft and distribution of software licenses by Defendant Raymond Bradley “Brad” Pearce

                                                                                                                   12 (“Pearce”) and the subsequent downstream resale of the same, as well as Defendant Atlas' sale of

                                                                                                                   13 counterfeit "Avaya" branded products (Case No. 3:19-cv-00565-SI (the “Civil Action”));
LAW OFFICES




                                                                                                                   14             WHEREAS, Defendants have denied all such claims and allegations and specifically deny

                                                                                                                   15 selling or knowing about any alleged stolen alphanumeric codes that Plaintiff refers to as

                                                                                                                   16 “software licenses” which Plaintiff alleges were generated by Pearce when he was employed by

                                                                                                                   17 Plaintiff; moreover, Defendant Atlas denies selling or knowing about any alleged “counterfeit”

                                                                                                                   18 products;

                                                                                                                   19             WHEREAS, on February 22, 2019, Pearce filed a motion requesting that the Court “stay

                                                                                                                   20 further proceedings of the above-styled civil action until completion of all related criminal

                                                                                                                   21 proceedings in the U.S. District Court for the Western District of Oklahoma,” Dkt. Nos. 22 & 22-1

                                                                                                                   22 (the “Motion”);

                                                                                                                   23             WHEREAS, in the Motion, Pearce and his criminal counsel described the ongoing federal

                                                                                                                   24 “criminal investigation [which] is directly related to the allegations made in Avaya's complaint

                                                                                                                   25

                                                                                                                   26
                                                                                                                        1
                                                                                                                        Certain defendants have been intentionally omitted from the Stipulation, including Pearce and
                                                                                                                   27 Tri-State, as to whom the case has been stayed, as well as Sharkfish Corp. and Telcom
                                                                                                                      International Trading Pte. Ltd., which never responded to the complaint and as to which a default
                                                                                                                   28 has been entered by the clerk of the Court.
                                                                                                                        4990070                                  1                    Case No. 3:19-cv-00565 SI
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                                                                                                                    1 filed on or about February 1, 2019.” Id.;

                                                                                                                    2             WHEREAS, Pearce and his criminal counsel advised in the Motion that Pearce would need

                                                                                                                    3 to “invoke privilege pursuant to the Fifth Amendment and pursuant to Art. II, Section 21, of the

                                                                                                                    4 Oklahoma Constitution” in the Civil Action. Id. at 22-1.;

                                                                                                                    5             WHEREAS, Avaya stipulated with Pearce to the proposed stay in deference to the ongoing
                                                                                                                    6 criminal investigation and Pearce’s fifth amendment rights, which the Court ordered on March 20,

                                                                                                                    7 2019. Dkt. No. 47.

                                                                                                                    8
                                                                                                                                  WHEREAS, that Stipulated Order included a reservation of rights for the Parties to seek to
                                                                                                                    9
                                                                                                                        modify, supplement, or terminate the stay by stipulation or for good cause shown. Id.;
                                                                                                                   10
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                                                                                                                                  WHEREAS, Atlas sought to expand the stay to apply to the Defendants or to lift the stay
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                                                                                                                   11
                                                                                                                        as to Pearce, which was supported by certain other defendants, but which the Court denied on May
                                                                                                                   12
                                                                                                                        8, 2019. Dkt. No. 81;
                                                                                                                   13
LAW OFFICES




                                                                                                                                  WHEREAS, in that Order, the Court ruled that the denial was “without prejudice to
                                                                                                                   14
                                                                                                                        renewal at a later date.” Further, the Court “direct[ed] Avaya to monitor the status of Pearce’s
                                                                                                                   15
                                                                                                                        criminal proceedings and to inform the Court through a letter filed on the docket when any
                                                                                                                   16
                                                                                                                        criminal charges are filed.” Id. at p. 4.
                                                                                                                   17
                                                                                                                                  WHEREAS, Avaya and other parties have kept the Court advised as to their understanding
                                                                                                                   18
                                                                                                                        of the current status of the criminal proceedings against Mr. Pearce at each subsequent Case
                                                                                                                   19
                                                                                                                        Management Conference;
                                                                                                                   20
                                                                                                                                  WHEREAS, the most recent updates from criminal counsel for Pearce to counsel for
                                                                                                                   21
                                                                                                                        Avaya, as recently as January 2022, as well as with counsel for Metroline indicate that the
                                                                                                                   22
                                                                                                                        criminal charges against Pearce are imminent, but still have not yet been filed;
                                                                                                                   23
                                                                                                                                  WHEREAS, the explanation for the delay in any criminal charges against Pearce has been
                                                                                                                   24
                                                                                                                        related to the effect of the pandemic on cases and grand juries, the related backlog of cases, as well
                                                                                                                   25
                                                                                                                        as the coordination between the United States Attorney's Office in the Western District of
                                                                                                                   26
                                                                                                                        Oklahoma and the Computer Crime and Intellectual Property Section of the Department of Justice
                                                                                                                   27
                                                                                                                        in the District of Columbia;
                                                                                                                   28
                                                                                                                        4990070                                  2                    Case No. 3:19-cv-00565 SI
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                                                                                                                    1             WHEREAS, according to these explanations, the delay has been largely resolved, such that

                                                                                                                    2 the Parties should expect the indictment to be “forthcoming”;

                                                                                                                    3             WHEREAS, all Parties noted in prior filings with the Court, including in certain Case

                                                                                                                    4 Management Statements, that they would suffer prejudice if there were no discovery from, or

                                                                                                                    5 involvement by, Pearce, who is the lead defendant and who Plaintiff alleges was the direct thief of

                                                                                                                    6 the stolen internal software licenses that underlie most Avaya’s claims for relief;

                                                                                                                    7             WHEREAS, the exclusion of Pearce from the case until now has caused the Parties

                                                                                                                    8 prejudice and hampered and slowed them in their discovery efforts, given that no documents or

                                                                                                                    9 testimony have been allowed from Pearce for the entire case;

                                                                                                                   10             WHEREAS, the Parties are now facing an upcoming fact discovery cut-off on March 1,
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                                                                                                                   11 2022, with the uncertain prospect of how to complete discovery and head into expert discovery

                                                                                                                   12 and dispositive motions and trial without any clarity as Pearce;

                                                                                                                   13             WHEREAS, the Parties would have needed to extend the fact discovery cut-off to some
LAW OFFICES




                                                                                                                   14 extent anyway to finish document productions and to take depositions thereafter;

                                                                                                                   15             WHEREAS, the Parties have all proceeded in good faith in attempting to complete as

                                                                                                                   16 much fact discovery as possible without the participation of Pearce, as the Parties wish for this

                                                                                                                   17 case to proceed as efficiently as possible but without the uncertainty presented by the current

                                                                                                                   18 status of Pearce and his related stay;

                                                                                                                   19             WHEREAS, the Parties are deeply concerned that proceeding further without clarity

                                                                                                                   20 regarding Pearce or having him involved at all will cause undue and irreparable prejudice to the

                                                                                                                   21 Parties in any trial;

                                                                                                                   22             WHEREAS, the Parties are deeply concerned that proceeding further without clarity

                                                                                                                   23 regarding Pearce or having him involved at all will lead to at least two trials being necessary in

                                                                                                                   24 this matter, which would be inefficient and wasteful for the Court and the Parties;

                                                                                                                   25             WHEREAS, the Parties are deeply concerned that proceeding further without clarity

                                                                                                                   26 regarding Pearce or having him involved at all will result in a larger and more prejudicial

                                                                                                                   27 disruption of the case closer to trial, as the Parties would then be seeking relief after the close of
                                                                                                                   28 discovery and potentially after the filing of dispositive motions;
                                                                                                                        4990070                                   3                    Case No. 3:19-cv-00565 SI
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                                                                                                                             Case 3:19-cv-00565-SI Document 335 Filed 02/16/22 Page 5 of 7




                                                                                                                    1             WHEREAS, the Parties have met and conferred significantly over the past two weeks in an

                                                                                                                    2 attempt to find a joint way to address these issues without motion practice;

                                                                                                                    3             WHEREAS, the Parties have stipulated to this limited stay not for any purpose of delay,

                                                                                                                    4 but rather the opposite, to ensure the most efficient resolution of the Civil Action as to all parties

                                                                                                                    5 in determining this case on the merits and at the same time mitigating any undue prejudice that

                                                                                                                    6 would result to the Parties by proceeding further without any clarity regarding Pearce and how his

                                                                                                                    7 criminal charges will ultimately impact the Civil Action; and

                                                                                                                    8             WHEREAS, the Parties agree to limits conditions on the proposed stay to ensure that it is

                                                                                                                    9 in place only for so long as the Court deems appropriate, including notifying the Court right away

                                                                                                                   10 as soon as the indictment is filed and requesting a case management conference thereafter at the
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                                                                                                                   11 Court’s earliest convenience to reassess the stay and schedule and to determine the appropriate

                                                                                                                   12 time in the Court’s sound discretion to lift the stay and proceed to trial.

                                                                                                                   13                                 ORDER RE LIMITED STAY OF ACTION
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                                                                                                                   14             Accordingly, the Parties, by and through their counsel of record, jointly submit that there is

                                                                                                                   15 good cause to modify and supplement the prior stays entered in this action, and therefore, hereby

                                                                                                                   16 STIPULATE and AGREE, and request that the Court ORDER that the above-captioned case be

                                                                                                                   17 stayed pursuant to the following terms:

                                                                                                                   18             1. All proceedings in the case shall be stayed at minimum until the filing of the

                                                                                                                   19 indictment as to Pearce, with the exception of:

                                                                                                                   20             (a) currently-scheduled document productions as to Featurecom (or as otherwise agreed to

                                                                                                                   21 by the parties between now and March 1, 2022) to occur before March 1, 2022 ;

                                                                                                                   22             (b) discovery disputes which are filed with the Court or the Discovery Referee by March 1,

                                                                                                                   23 2022; and,

                                                                                                                   24             (c) privilege log productions which shall be completed by March 1, 2022.

                                                                                                                   25
                                                                                                                                  (d) the March 9, 2022 Settlement Conference shall go forward.
                                                                                                                   26
                                                                                                                                   2. The trial date shall be vacated.
                                                                                                                   27
                                                                                                                                   3. Upon notice to any Party that the indictment has been filed as to Pearce, the Parties are
                                                                                                                   28
                                                                                                                        to immediately inform the Court of this event via joint notice, so that the Court may set a case
                                                                                                                        4990070                                    4                    Case No. 3:19-cv-00565 SI
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                                                                                                                    1 management and scheduling conference at the Court’s earliest convenience to reassess the case

                                                                                                                    2 schedule and the stay.         A further case management conference is set for April 22, 2022 at 3 p.m.

                                                                                                                    3                 4.    Once the Court determines that it is appropriate to lift the stay as to some or all

                                                                                                                    4 parties (whether at the initial CMC or at a subsequent CMC/hearing), the Parties shall restart the

                                                                                                                    5 case proceedings where they left off, finishing discovery (depositions and any remaining written

                                                                                                                    6 discovery responses or related motions) within a reasonable period of time, and then shall proceed

                                                                                                                    7 to expert discovery/dispositive motions/trial, pursuant to the Court’s then-applicable case schedule

                                                                                                                    8 and trial availability.

                                                                                                                    9             Notwithstanding the stipulations above, the Parties further agree that they are entering

                                                                                                                   10 these stipulations reserving all rights, and without prejudice to any rights, of the Parties to present
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                                                                                                                   11 any further motion or stipulation to the Court as necessary to modify, supplement, or terminate

                                                                                                                   12 this Stipulated Stay, or any terms thereof, to the extent further agreed by the Parties or for good

                                                                                                                   13 cause shown.
LAW OFFICES




                                                                                                                   14             Further, the Parties respectfully request that, in the event the Court is not inclined to stay

                                                                                                                   15 the case as outlined above, that the Court hold a conference with all Parties to discuss potential

                                                                                                                   16 other options to address the issues raised herein.

                                                                                                                   17

                                                                                                                   18 IT IS SO STIPULATED.

                                                                                                                   19 DATED: February 11, 2022                        SIDEMAN & BANCROFT LLP

                                                                                                                   20                                                 By:                 /s/ Lyndsey C. Heaton
                                                                                                                                                                                              Lyndsey C. Heaton
                                                                                                                   21
                                                                                                                                                                                            Attorneys for Plaintiff
                                                                                                                   22                                                                           AVAYA INC.

                                                                                                                   23
                                                                                                                        DATED: February 11, 2022                      BLEDSOE, DIESTEL, TREPPA & CRANE LLP
                                                                                                                   24
                                                                                                                                                                      By:                     /s/ Davis J. Reilly
                                                                                                                   25

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                                                                                                                        4990070                                   5                    Case No. 3:19-cv-00565 SI
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                                                                                                                    1                                                             Davis J. Reilly
                                                                                                                                                                                 Maria Nozzolino
                                                                                                                    2                                             Attorneys for Defendants JASON HINES, DBSI,
                                                                                                                                                                  US VOICE & DATA LLC, previously known as
                                                                                                                    3
                                                                                                                                                                  TRI-STATE COMMUNICATIONS SERVICES
                                                                                                                    4                                                                  LLC

                                                                                                                    5
                                                                                                                        DATED: February 11, 2022            MZF Law Firm
                                                                                                                    6
                                                                                                                                                            By:           /s/ Mateo Fowler
                                                                                                                    7
                                                                                                                                                                               Mateo Fowler
                                                                                                                    8                                                     Attorney for Defendants
                                                                                                                                                                     DREW TELECOM GROUP INC. AND
                                                                                                                    9                                                        ANDREW ROACH

                                                                                                                   10 DATED: February 11, 2022
              SIDEMAN & BANCROFT LLP




                                                                                                                                                            SHEPPARD MULLIN RICHTER & HAMPTON LLP
                                       ONE EMBARCADERO CENTER, 22ND FLOOR
                                                                            SAN FRANCISCO, CALIFORNIA 94111-3711




                                                                                                                   11
                                                                                                                                                            By:             /s/ Laura Chapman
                                                                                                                   12                                                            Laura Chapman
                                                                                                                                                                              Attorney for Defendant
                                                                                                                   13                                                       ATLAS SYSTEMS, INC.
LAW OFFICES




                                                                                                                   14
                                                                                                                   15 DATED: February 11, 2022              WILSON ELSER MOSKOWITZ EDELMAN &
                                                                                                                                                            DICKER LLP
                                                                                                                   16
                                                                                                                                                            By:           /s/ Francis Torrence
                                                                                                                   17                                                          Francis Torrence
                                                                                                                                                                          Attorney for Defendants
                                                                                                                   18                                              FEATURECOM INC. AND STEVE GERACI
                                                                                                                   19
                                                                                                                   20
                                                                                                                   21
                                                                                                                   22
                                                                                                                        PURSUANT TO STIPULATION, IT IS SO ORDERED. as Amended above.
                                                                                                                   23
                                                                                                                   24
                                                                                                                   25 Dated:      February 16, 2022
                                                                                                                                                                           SUSAN ILLSTON
                                                                                                                   26                                                      United States District Judge
                                                                                                                   27

                                                                                                                   28
                                                                                                                        4990070                               6                    Case No. 3:19-cv-00565 SI
                                                                                                                                       STIPULATION AND [PROPOSED] ORDER RE LIMITED STAY
